Filed 08/27/19                                                                                           Case 19-21640                                                       Doc 90



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                                                                   Peter Cianchetta, SBN: 220971
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                                                                   CIANCHETTA & ASSOCIATES
                                                              3    8788 Elk Grove Blvd., Suite 2A
                                                                   Elk Grove, California 95624
                                                              4    Ph: (916) 685-7878
                                                                   plc@eglaw.net
                                                              5
                                                                   Attorney for Deborah Leigh Miller-Zuranich
                                                              6

                                                              7                            UNITED STATES BANKRUPTCY COURT

                                                              8                              EASTERN DISTRICT OF CALIFORNIA

                                                              9        In re:                                              Case No. 2019-21640
                                                              10
                                                                       Deborah Leigh Miller-Zuranich,                      DCN: PLC-05
   CIANCHETTA & ASSOCIATES




                                                              11                                                           Chapter 11
                                                                                                          Debtor           Hearing Date: NONE
                             8788 Elk Grove Blvd., Suite 2A




                                                              12
                                                                                                                           Hearing Time: NONE
                                 Elk Grove, CA 95624




                                                              13                                                           Hon. Christopher D. Jaime
                                                              14
                                                                                                                           Courtroom 32 - Dept B

                                                              15
                                                                           EX PARTE APPLICATION TO EMPLOY COUNSEL FOR DEBTOR IN
                                                              16
                                                                                            POSSESSION [11U.S.C. § 327; FRBP 2014(a)]
                                                              17
                                                                   TO THE UNITED STATES BANKRUPTCY COURT:
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                                                                   The Debtor in Possession, Deborah Leigh Miller-Zuranich, respectfully states:
                                                              19
                                                                       1. To perform her duties as Debtor in Possession requires the services of an attorney for the
                                                              20
                                                                           following purposes:
                                                              21
                                                                                a) To advise and consult with Debtor in Possession concerning questions arising in the
                                                              22
                                                                                    conduct of the administration of the estate, and concerning Debtor in Possession's
                                                              23
                                                                                    rights and remedies with regard to the estate's assets and the claims of secured,
                                                              24
                                                                                    preferred and unsecured creditors and other parties in interest;
                                                              25
                                                                                b) To appear for, prosecute, defend and represent Debtor in Possession's interest in suits
                                                              26
                                                                                    arising in or related to this case;
                                                              27
                                                                                c) To appear for, prosecute, defend and represent Debtor in Possession's interest in suits
                                                              28
                                                                                    existing in California state courts;
                                                                                                                      PAGE 1
Filed 08/27/19                                                                                        Case 19-21640                                                          Doc 90



                                                              1
                                                                              d) To investigate and prosecute preference, fraudulent conveyance and other actions
                                                              2
                                                                                  arising under the Trustee's avoiding powers;
                                                              3
                                                                              e) To assist and advise Debtor in Possession in the investigation and collection for the
                                                              4
                                                                                  estate of any outstanding accounts receivable, deposits or causes of action which may
                                                              5
                                                                                  be reasonably obtainable; and
                                                              6
                                                                              f) To assist in the preparation of such schedules, statements, pleadings, motions, notices
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                                                                                  and orders as are required for the orderly administration of this estate, and to consult
                                                              8
                                                                                  with and advise Debtor in Possession in connection with the operation of the business
                                                              9
                                                                                  of the Debtor.
                                                              10
                                                                      2. For the foregoing and all other necessary and proper purposes, Debtor in Possession desires to
   CIANCHETTA & ASSOCIATES




                                                              11
                                                                          retain Peter Cianchetta.
                             8788 Elk Grove Blvd., Suite 2A




                                                              12
                                                                      3. Debtor in Possession believes that said attorney is well qualified to render the foregoing
                                 Elk Grove, CA 95624




                                                              13
                                                                          services because Peter Cianchetta, is experienced and emphasizes bankruptcy and
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                                                                          debtor/creditor/Trustee matters.
                                                              15
                                                                      4. Based upon the Declaration filed herewith, Debtor in Possession believes that said attorney
                                                              16
                                                                          does not hold or represent any interest adverse to that of your Debtor in Possession or the
                                                              17
                                                                          Debtor's estate, and that said lawyer is a disinterested persons within the meaning of 11 U.S.C
                                                              18
                                                                          section 101(13).
                                                              19
                                                                      5. Debtor in Possession and Peter Cianchetta signed a fee agreement on July 30, 2019 that
                                                              20
                                                                          provides normal hourly billing rates for bankruptcy work of Peter Cianchetta for $375.00 per
                                                              21
                                                                          hour, and that paralegal charges are $50.00 - 195.00 per hour. Debtor in Possession deposited
                                                              22
                                                                          $1,500.00 with said attorney for fees and costs pursuant to the fee agreement.
                                                              23
                                                                      6. It is furthermore contemplated that said law firm will seek interim compensation during the
                                                              24
                                                                          case, as permitted by 11 U.S.C. Section 331.
                                                              25
                                                                   Respectfully submitted on August 26, 2019, Cianchetta & Associates
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                                                                                                                    /s/ Peter Cianchetta_________
                                                              27                                                    Peter Cianchetta, Attorney for
                                                                                                                    Deborah Leigh Miller-Zuranich
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